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                                                                             u.s.Dfs:
                                                                                5;- .          DiV.
                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA                     ZiliS.IUL I? Pf-:3:23
                                    SAVANNAH DIVISION


UNITED STATES OF AMERICA                      )                                         • ftOr GA
                                              )
               V.                             )
                                              ) Case No. 4:19-cr-69
GILBERT BASALDUA                              )

                                           ORDER


       The Court, having considered the Government's Motion to Seal in the above-captioned

case, and for good cause shown, hereby ORDERS that the Stipulated Protective Order is hereby

sealed until further Order of the Court.


       So ORDERED this Jiik day ofJuly, 2019.

                                           HONORABLE CHRISTOPHER L/RAY
                                           UNITED STATES MAGISTRATE JUDGE
                                           SOUTHERN DISTRICT OF GEORGIA
